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          17                           UNITED STATES DISTRICT COURT
          18                          CENTRAL DISTRICT OF CALIFORNIA
          19                                      SOUTHERN DIVISION
          20     MASIMO CORPORATION,                         CASE NO. 8:20-cv-00048-JVS (JDEx)
                 a Delaware corporation; and
          21     CERCACOR LABORATORIES, INC.,                DEFENDANT APPLE INC.’S NOTICE
                 a Delaware corporation,                     OF MOTION AND MOTION TO
          22                                                 COMPEL PLAINTIFFS TO COMPLY
                                    Plaintiffs,              WITH SECTION 2019.210
          23
                       v.                                  Judge:     Magistrate Judge John D. Early
          24                                               Date/Time: January 21, 2021 / 10:00 AM
                 APPLE INC.,                               Courtroom: 6A
          25     a California corporation,
                                                           Discovery Cutoff:         7/5/2021
          26                        Defendant.             Pre-trial Conference:     3/21/2022
                                                           Trial:                    4/5/2022
          27
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                      APPLE’S NOTICE OF MOTION TO COMPEL PLAINTIFFS TO COMPLY WITH SECTION 2019.210
                                              CASE NO. 8:20-cv-00048-JVS (JDEx)
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            1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
            2          PLEASE TAKE NOTICE that on January 21, 2021, at 10:00 AM, or as soon
            3    thereafter as the matter may be heard, in Courtroom 6A of the United States District
            4    Court for the Central District of California at Ronald Reagan Federal Building and
            5    United States Courthouse, 411 W. Fourth Street, Santa Ana, California, 92701,
            6    Defendant Apple Inc. (“Apple”) will and hereby does move the Court under Federal
            7    Rule of Civil Procedure 37 and Local Rule 37-2 to order Plaintiffs Masimo Corporation
            8    and Cercacor Laboratories, Inc. (collectively, “Plaintiffs”) to comply with California
            9    Code of Civil Procedure § 2019.210 (“Section 2019.210”).
          10           Specifically, Apple requests an order requiring Plaintiffs to serve on Apple a
          11     Section 2019.210 disclosure that includes: (1) a summary of the specific, alleged trade
          12     secrets; (2) the background of the alleged trade secrets and a description of how each
          13     alleged secret has derived independent, actual or potential economic value by virtue of
          14     not being generally known to the public; (3) a description of how each alleged secret has
          15     been the subject of reasonable efforts to maintain its secrecy; and (4) each of the precise
          16     claimed trade secrets, numbered, with a list of the specific elements for each, as claims
          17     would appear at the end of a patent.
          18           Pursuant to Local Rule 37-1, the parties met and conferred in good faith following
          19     a letter from Apple laying out the grounds for this Motion, but were unable to resolve
          20     the disputes presented here. See Declaration of Ilissa Samplin ¶¶ 5-10.
          21           This Motion is based on this Notice of Motion and Motion, the accompanying
          22     Joint Stipulation, Apple’s supporting declarations and exhibits attached thereto, and
          23     such further evidence and argument as may be presented at or before the hearing on this
          24     matter. Plaintiffs also have submitted accompanying declarations and exhibits in
          25     support of their position in the Joint Stipulation.
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                      APPLE’S NOTICE OF MOTION TO COMPEL PLAINTIFFS TO COMPLY WITH SECTION 2019.210
                                              CASE NO. 8:20-cv-00048-JVS (JDEx)
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            1    Dated: December 30, 2020
            2                                         Respectfully submitted,
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            7
            8                                         By:       /s/ Joshua H. Lerner
                                                                          Joshua H. Lerner
            9
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                     APPLE’S NOTICE OF MOTION TO COMPEL PLAINTIFFS TO COMPLY WITH SECTION 2019.210
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